          CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 1 of 14



                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA

     Heather Shepard, individually and
     on behalf of all others similarly           COURT FILE NO.:
     situated,

                   Plaintiff,                     CLASS ACTION COMPLAINT
     v.

     Central Portfolio Control, Inc.,               JURY TRIAL DEMANDED

                   Defendant.


                                        INTRODUCTION

1.        Heather Shepard (“Plaintiff”) brings this Class Action Complaint for

          damages, injunctive relief, and any other available legal or equitable

          remedies, resulting from the illegal actions of Central Portfolio Control, Inc.

          (“Defendant”), in negligently and/or intentionally contacting Plaintiff on

          Plaintiff’s cellular telephone, in violation of the Telephone Consumer

          Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”), thereby invading

          Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as

          to herself and her own acts and experiences, and, as to all other matters, upon

          information and belief, including investigation conducted by her attorneys.

2.        The TCPA was designed to prevent calls like the ones described within this

          complaint, and to protect the privacy of citizens like Plaintiff. “Voluminous

          consumer complaints about abuses of telephone technology – for example,

                                         Page 1 of 14
     CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 2 of 14



     computerized calls dispatched to private homes – prompted Congress to pass

     the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

3.   In enacting the TCPA, Congress intended to give consumers a choice as to

     how creditors and telemarketers may call them, and made specific findings

     that “[t]echnologies that might allow consumers to avoid receiving such calls

     are not universally available, are costly, are unlikely to be enforced, or place

     an inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, § 11.

     Toward this end, Congress found that

         [b]anning such automated or prerecorded telephone calls to the
         home, except when the receiving party consents to receiving
         the call or when such calls are necessary in an emergency
         situation affecting the health and safety of the consumer, is the
         only effective means of protecting telephone consumers from
         this nuisance and privacy invasion.

      Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012

      WL 3292838, at* 4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings

      on TCPA’s purpose).

4.   Congress also specifically found that “the evidence presented to the Congress

     indicates that automated or prerecorded calls are a nuisance and an invasion

     of privacy, regardless of the type of call. . . .” Id. at §§ 12-13. See also, Mims,

     132 S. Ct. at 744.




                                     Page 2 of 14
     CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 3 of 14



                              JURISDICTION AND VENUE

5.   This Court has federal question jurisdiction because this case arises out of

     violation of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs. LLC,

     132 S. Ct. 740 (2012).

6.   Venue is proper in the United States District Court for Minnesota pursuant to

     28 U.S.C. § 1391 for the following reasons: (i) the conduct complained of

     herein occurred within this judicial district; and, (ii) many of the acts and

     transactions giving rise to this action occurred in this district because

     Defendant

          (a) does substantial business within this district; and

          (b) is subject to personal jurisdiction in this district.

                                      PARTIES

7.   Plaintiff is, and at all times mentioned herein was, a citizen and residents of

     the State of Nevada. Plaintiff is, and at all times mentioned herein was, a

     “person” as defined by 47 U.S.C. § 153(39).

8.   Plaintiff is informed and believes, and thereon allege, that Defendant is, and

     at all times mentioned herein was, a Minnesota corporation doing business in

     Minnesota and is a “person,” as defined by 47 U.S.C. § 153(39).

9.   Defendant is a Minnesota Domestic Business Corporation, registered with

     the Office of the Minnesota Secretary of State.




                                     Page 3 of 14
      CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 4 of 14



10.   Upon information and belief, the website for Defendant is https://

      cpcrecovery.com.

11.   According to Defendant’ website, Defendant is a nationally licensed

      collection agency offering professional recovery services out of Minnesota.

12.   Plaintiff is informed and believes, and thereon alleges, that Defendant is a

      corporation and owner (or frequent user) of one or more of the telephone

      numbers used by Defendant to make telephone calls to Plaintiff in violation

      of the TCPA.

13.   At all times relevant herein Defendant conducted business in the State of

      Minnesota and within this judicial district.

                              FACTUAL ALLEGATIONS

14.   At no time did Plaintiff ever enter into a business relationship with

      Defendant.

15.   On or about March 1, 2016, and approximately four times thereafter,

      Defendant initiated a telephone call to Plaintiff’s cellular telephone number.

16.   Upon information and belief, Defendant placed these calls using an

      “automatic telephone dialing system,” (“ATDS”) as defined by 47 U.S.C. §

      227 (a)(1) as prohibited by 47 U.S.C. § 227 (b)(1)(A).

17.   These telephone calls constituted calls that were not for emergency purposes

      as defined by 47 U.S.C. § 227 (b)(1)(A)(i).




                                     Page 4 of 14
      CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 5 of 14



18.   Upon information and belief, the ATDS used by Defendants has the capacity

      to store or produce telephone numbers to be called, using a random or

      sequential number generator.

19.   Upon information and belief, the ATDS used by Defendant also has the

      capacity to, and does, dial telephone numbers stored as a list or in a database

      without human intervention.

20.   Defendant used an ATDS when it made the phone calls described above

      because when Plaintiffs answered the calls, Plaintiffs noted a “pause” before

      a live person appeared on the line which is “characteristic of an automated

      dialer.”   See, e.g., Thomas v. Dun & Bradstreet Credibility Corp., 100 F.

      Supp. 3d 937, 945 (C.D. Cal. 2015); ATDSOliver v. DirecTV, LLC, No. 14-

      cv-7794, 2015 U.S. Dist. LEXIS 47964, at *11-12 (N.D. Ill. Apr. 13, 2015)

      (“allegation regarding the ‘momentary pause,’ along with his other

      allegations regarding Defendant’s phone calls, are sufficient to draw a

      reasonable inference that Defendant used an ATDS”); Lofton v. Verizon

      Wireless (VAW) LLC, No. 13-cv-05665-YGR, 2015 U.S. Dist. LEXIS 34516,

      at *17 (N.D. Cal. Mar. 18, 2015) (“descriptions of the ‘telltale’ pause after

      plaintiff picked up each call until the agent began speaking, which suggests

      the use of a predictive dialing system”).

21.   Defendant used an ATDS when it made the phone calls described above

      because, among other things, Defendant is a major bank and financial

                                     Page 5 of 14
      CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 6 of 14



      servicer that services a large amount of consumer accounts and likely needs a

      “sophisticated phone system” capable of “storing phone numbers and dialing

      them automatically.”     See, e.g., Thomas v. Dun & Bradstreet Credibility

      Corp., 100 F. Supp. 3d 937, 945 (C.D. Cal. 2015).

22.   Defendant’s calls was placed to a telephone number assigned to a cellular

      telephone service for which Plaintiff incurs a charge for incoming calls

      pursuant to 47 U.S.C. § 227(b)(1).

23.   Upon information and belief, these telephone calls were made to Plaintiff for

      the purpose of trying to contact a third party.     The telephone calls were

      unwanted by Plaintiff.

24.   Defendant did not have prior express written consent to place the calls to

      Plaintiff.

25.   The telephonic communication by Defendant, or its agent(s), violated 47

      U.S.C. § 227(b)(1).

26.   Through Defendant’s aforementioned conduct, Plaintiff suffered an invasion

      of a legally protected interest in privacy, which is specifically addressed and

      protected by the TCPA.

27.   Plaintiff was personally affected by Defendant’s aforementioned conduct

      because Plaintiff was frustrated and distressed that Defendant interrupted

      Plaintiff with an unwanted calls using an ATDS.




                                    Page 6 of 14
      CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 7 of 14



28.   Defendant’s call forced Plaintiff and other similarly situated class members

      to live without the utility of their cellular phones by occupying their cellular

      telephone with one or more unwanted calls, causing a nuisance and lost time.

29.   Defendant’s calls to Plaintiff’s cellular telephone number was unsolicited by

      Plaintiff and without Plaintiff’s permission or consent.

30.   Plaintiff is informed and believes and here upon alleges, that the call was

      made by Defendant and/or Defendant’s agent(s), with Defendant’s

      permission, knowledge, control and for Defendant’s benefit.

31.   Through the aforementioned conduct, Defendant has violated 47 U.S.C. §

      227(b)(1)(A)(iii).

32.   Further, Defendant’s violations also cause Plaintiff to suffer a real and

      concrete harm because when Defendant called Plaintiff, Plaintiff’s time was

      wasted on phone calls with Defendant when Defendant had no right to

      contact Plaintiff. Defendant also consumed and wasted Plaintiff’s cellphone

      battery life. Plaintiff also suffered from frustration and annoyance which the

      TCPA was enacted to prevent. See, e.g., Mey v. Got Warranty, Inc., No. 5:15-

      CV-101, 2016 U.S. Dist. LEXIS 84972, at *8 (N.D.W. Va. June 30, 2016)

      (“[S]uch calls also cause intangible injuries, regardless of whether the

      consumer has a prepaid cell phone or a plan with a limited number of

      minutes. The main types of intangible harm that unlawful calls cause are (1)

      invasion of privacy, (2) intrusion upon and occupation of the capacity of the

                                    Page 7 of 14
      CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 8 of 14



      consumer’s cell phone, and (3) wasting the consumer’s time or causing the

      risk of personal injury due to interruption and distraction.”).

                           CLASS ACTION ALLEGATIONS

33.   Plaintiff brings this action on behalf of herself and on behalf of all others

      similarly situated (“the Class”).

34.   Plaintiff represents, and is a member of the Class, consisting of:

          All persons within the United States who received any
          telephone call from Defendant or their agent/s and/or
          employee/s, not sent for emergency purposes, to the person’s
          cellular telephone made through the use of any automatic
          telephone dialing system within the four years prior to the
          filing of this Complaint.

35.   Defendant and its employees or agents are excluded from the Class. Plaintiff

      does not know the number of members in the Class, but believes the Class

      members number in the several thousands, if not more. Thus, this matter

      should be certified as a Class action to assist in the expeditious litigation of

      this matter.

36.   Plaintiff and members of the Class were harmed by the acts of Defendant in

      at least the following ways: Defendant, either directly or through its agents,

      illegally contacted Plaintiff and the Class members via their cellular

      telephones by using an ATDS, thereby causing Plaintiff and the Class

      members to incur certain cellular telephone charges or reduced cellular

      telephone time for which Plaintiff and the Class members previously paid,


                                     Page 8 of 14
      CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 9 of 14



      and invading the privacy of Plaintiff and the Class members. Plaintiff and the

      Class members were thereby damaged.

37.   This suit seeks only damages and injunctive relief for recovery of economic

      injury on behalf of the Class, and it expressly is not intended to request any

      recovery for personal injury and claims related thereto. Plaintiff reserves the

      right to expand the Class definition to seek recovery on behalf of additional

      persons as warranted as facts are learned in further investigation and

      discovery.

38.   The joinder of the Class members is impractical and the disposition of their

      claims in the Class action will provide substantial benefits both to the parties

      and to the court. The Class can be identified through Defendant’s records or

      Defendant’s agents’ records.

39.   There is a well-defined community of interest in the questions of law and fact

      involved affecting the parties to be represented. The questions of law and

      fact to the Class predominate over questions which may affect individual

      Class members, including the following:

       a)    Whether, within the four years prior to the filing of this Complaint,

             Defendant or its agents initiated any telephonic communications to

             the Class (other than a message made for emergency purposes or

             made with the prior express consent of the called party) using any




                                     Page 9 of 14
      CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 10 of 14



              automatic dialing system to any telephone number assigned to a

              cellular telephone service;

        b)    Whether Defendant can meet its burden of showing Defendant

              obtained prior express written consent;

        c)    Whether Defendant’s conduct was knowing and/or willful;

        d)    Whether Plaintiff and the Class members were damaged thereby, and

              the extent of damages for such violation; and

        e)    Whether Defendant and/or its agent/s should be enjoined from

              engaging in such conduct in the future.

40.    As a person that received at least one telephonic communication from

       Defendant’s ATDS without Plaintiff’s prior express written consent, Plaintiff

       is asserting claims that are typical of the Class. Plaintiff will fairly and

       adequately represent and protect the interests of the Class in that Plaintiff has

       no interests antagonistic to any member of the Class.

41.    Plaintiff and the members of the Class have all suffered irreparable harm as a

       result of Defendant’s unlawful and wrongful conduct. Absent a class action,

       the Class will continue to face the potential for irreparable harm. In addition,

       these violations of law will be allowed to proceed without remedy and

       Defendant will likely continue such illegal conduct. Because of the size of

       the individual Class members’ claims, few, if any, Class members could

       afford to seek legal redress for the wrongs complained of herein.

                                     Page 10 of 14
      CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 11 of 14



42.    Plaintiff has retained counsel experienced in handling class action claims and

       claims involving violations of the TCPA.

43.    A class action is a superior method for the fair and efficient adjudication of

       this controversy. Class-wide damages are essential to induce Defendant to

       comply with federal. The interest of Class members in individually

       controlling the prosecution of separate claims against Defendant is small

       because the maximum statutory damages in an individual action for violation

       of privacy are minimal. Management of these claims is likely to present

       significantly fewer difficulties than those presented in many class claims.

44.    Defendant has acted on grounds generally applicable to the Class, thereby

       making appropriate final injunctive relief and corresponding declaratory

       relief with respect to the Class as a whole.

                                 CAUSES OF ACTION

                 COUNT I: NEGLIGENT VIOLATIONS OF THE TCPA

                               47 U.S.C. §§ 227 ET SEQ.

45.    Plaintiff incorporates by reference all of the above paragraphs of this

       Complaint as though fully stated herein.

46.    The foregoing acts and omissions of Defendant constitute numerous and

       multiple negligent violations of the TCPA, including but not limited to each

       and every one of the above-cited provisions of 47 U.S.C. § 227, et seq.




                                     Page 11 of 14
      CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 12 of 14



47.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,

       Plaintiff and the Class are entitled to an award of $500.00 in statutory

       damages, for each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B).

48.    Plaintiff and the Class are also entitled to and seek injunctive relief

       prohibiting such conduct in the future.

        COUNT II: KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA

                              47 U.S.C. §§ 227 ET SEQ.

49.    Plaintiff incorporates by reference all of the above paragraphs of this

       Complaint as though fully stated herein.

50.    The foregoing acts and omissions of Defendant constitute numerous and

       multiple knowing and/or willful violations of the TCPA, including but not

       limited to each and every one of the above-cited provisions of 47 U.S.C. §

       227 et seq.

51.    As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §

       227 et seq, Plaintiff and the Class are entitled to an award of $1,500.00 in

       statutory damages, for each and every violation, pursuant to 47 U.S.C. §

       227(b)(3)(C).

52.    Plaintiff and the Class are also entitled to and seek injunctive relief

       prohibiting such conduct in the future.




                                    Page 12 of 14
      CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 13 of 14



                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully request the Court grant Plaintiff and

the Class members the following relief against Defendant:

         •    Certify the Class as requested herein;

         •   Appoint Plaintiff to serve as the Class Representative in this matter;

         •   Appoint Plaintiff’s Counsel as Class Counsel in this matter;

         •    Provide such further relief against Defendant as may be just and

              proper.

In addition, Plaintiff and the Class members pray for further judgment as follows

against Defendant:

                 COUNT I: NEGLIGENT VIOLATIONS OF THE TCPA

                                47 U.S.C. §§ 227 ET SEQ.

53.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),

       Plaintiff seeks for herself and each Class member $500.00 in statutory

       damages, for each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B).

54.    Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such

       conduct in the future.

55.    Any other relief the Court may deem just and proper.




                                     Page 13 of 14
      CASE 0:16-cv-04108-JRT-KMM Document 1 Filed 12/07/16 Page 14 of 14



        COUNT II: KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA

                                47 U.S.C. §§ 227 ET SEQ.

56.    As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §

       227(b)(1), Plaintiff seeks for herself and each Class member $1,500.00 in

       statutory damages, for each and every violation, pursuant to 47 U.S.C. §

       227(b)(3)(C).

57.    Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such

       conduct in the future.

58.    Any other relief the Court may deem just and proper.

                                    TRIAL BY JURY

59.    Pursuant to the seventh amendment to the Constitution of the United States

       of America, Plaintiff is entitled to, and demands, a trial by jury.

                                                HYDE & SWIGART


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                                      Page 14 of 14
